    Case 20-42492     Doc 250       Filed 04/19/21 Entered 04/19/21 15:55:18
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                                                                                     Desc Main

                                                                                  04/19/2021
                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION



In re:                                           §   Chapter 11
                                                 §
SPHERATURE INVESTMENTS,                          §   Case No.: 20-42492
LLC, et al.                                      §
                                                 §   Joint Administration Requested
                        Debtors.1                §



ORDER APPROVING STIPULATION TO EXTEND (1) BAR DATE TO FILE PROOFS
  OF CLAIM FROM APRIL 20, 2021 TO JUNE 20, 2021 AND (2) RESPONSE AND
 OBJECTION DEADLINE AS TO CERTAIN PENDING MOTIONS [DKT. NO. 235]
         The Stipulation to extend the Bar Date as to the Claimants and extend the response and
objection deadlines as to certain pending motions [Dkt No. 235] is approved in its entirety.
         It is hereby ORDERED as follows:
         1.     The Bar Date is hereby extended, solely with respect to the Claimants as defined in
the Stipulation, to June 20, 2021 (the “Extended Bar Date”).
         2.     Any Proofs of Claim filed by the Claimants before the Extended Bar Date shall be
superseded in all respects by any Proofs of Claim filed subsequent to the Bar Date and on or before
the Extended Bar Date, and shall not prejudice the Claimants in any way.
         3.     The response and objection deadline to the Movant’s Motion to Compel and Motion
to Lift Stay are hereby extended, solely with respect to the Debtors and the Committee, to April
30, 2021 at 5:00 p.m.


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  The “Debtors” in the above-captioned jointly administered chapter 11 bankruptcy cases
(“Cases”) have listed their identification and EIN numbers as: Spherature Investments LLC
(“Spherature”) EIN#5471; Rovia, LLC (“Rovia”) EIN#7705; WorldVentures Marketing Holdings,
LLC (“WV Marketing Holdings”) EIN#3846; WorldVentures Marketplace, LLC (“WV
Marketplace”) EIN#6264; WorldVentures Marketing, LLC (“WV Marketing”) EIN#3255;
WorldVentures Services, LLC (“WV Services”) EIN #2220. The Debtors list their corporate
headquarters in some pleadings, but not others, as 5100 Tennyson Parkway, Plano, TX 75024.


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       4.     The response and objection deadline to the Debtors’ Alternative Notice Motion is

hereby extended, solely with respect to the Movant, to April 30, 2021 at 5:00 p.m.




                                                               Signed on 4/19/2021

                                                                                  YM
                                                    HONORABLE BRENDA T. RHOADES,
                                                    CHIEF UNITED STATES BANKRUPTCY JUDGE




Submitted and Prepared by:

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